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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

CR-23-1 022-PHX-DWL (ESW)

United States of America, No.
Plaintiff, INDICTMENT
vs. VIO: 8US.C. ‘ 1324(a)(1)(A)(v)(),
eee i (ay (B)G)
Conspiracy to Transport Illegal
Ramon Moreno-Lopez Aliens for Profit)
Count 1
Defendants.
THE GRAND JURY CHARGES:
BACKGROUND
At times relevant to this Indictment:
1. Snapchat is a mobile instant messaging application developed by Snap Inc.

(originally Snapchat Inc.), which provides users a way to share photos, videos, geo-

locations, and chats.

2. Snapchat is used for creating multimedia messages referred to as “Snaps.”

“Snaps” are photos or videos that may be shared directly with other users, or in a “Story”

or “Chat.” A “Story” is a collection of Snaps displayed in chronological order, while the

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“Chat” feature allows a user to type messages and send Snaps, audio notes, and video notes
to other users within the Snapchat application. A post may be saved by the user and posted
on a later date, which is referred to as a “Memory.”

3. One of the principal features of Snapchat is that pictures and messages are
usually only available for a short time (24 hours unless removed earlier by the user) before
they become inaccessible to their recipients. Generally, absent changes to user settings,
once the content is sent and opened by the recipient, the content will be deleted from the
user’s device after a certain amount of time, unless the receiver opts to save the content.
For instance, Snapchat users are able to save photos and videos to their device or to
“Memories,” Snapchat’s cloud-storage service. A user can also save part of a Chat by
tapping on the message they want to keep.

4, Users can manage their privacy settings so that their Story can be viewed by
all Snapchat users, their friends, or a custom audience. A user can also submit their Snaps
to Snapchat’s “Our Story” service, which enables their Snaps to be viewed by all Snapchat
users in Search and the general location of the user shown on the Snap Map.

5. Human smuggling organizations operate to unlawfully smuggle individuals
into the United States from other countries, including Mexico. These aliens being
smuggled are not United States citizens and have not received the prior official
authorization from the United States government to come to, enter, or reside in the United
States. The aliens being smuggled, or their families, have typically paid or promised to
pay money, or provide other things of value, in exchange for being smuggled into the
United States.

6. Human smuggling organizations commonly utilize coordinators to recruit
persons to transport aliens unlawfully within the United States. The Snapchat application,
in conjunction with other means, has been utilized by persons associated with such human
smuggling organizations to coordinate, carry out, and attempt to carry out, these activities.

This includes users of Snapchat utilizing Story posts to recruit others to join in or carry out

human smuggling activities, such as by recruiting persons to pick up and transport

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individuals who have been unlawfully smuggled into the United States and by identifying
locations where such smuggled individuals should be picked up or dropped off within the
United States.
COUNT 1

7. The factual allegations in the preceding paragraphs are realleged and
incorporated as though fully set forth herein.

8. Beginning on an unknown date and continuing through on or about June 3,
2023, in the District of Arizona and elsewhere, the defendant, RAMON MORENO-
LOPEZ, did knowingly and intentionally combine, conspire, confederate, and agree with
persons known and unknown to the grand jury to transport and move within the United
States, and attempt to do the same, aliens who had come to, entered, and remained in the
United States in violation of law, by means of transportation and otherwise, and in
furtherance of such violation of law, for the purpose of commercial advantage and private
financial gain, in violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii).

All in violation of Title 8, United States Code, Section 1324(a)(1)(A)(v)(D and

1324(a)(1)(B)(i).

A TRUE BILL

/s/
FOREPERSON OF THE GRAND JURY
Date: July 5, 2023

GARY M. RESTAINO
United States Attorney
District of Arizona

/s/

TIMOTHY COURCHAINE
Assistant U.S. Attorney

